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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

THE ESTATE OF JEFFREY RAY BELDEN,      )
MARIE GASTON, Administratrix and       )
MARIE GASTON, Survivor of JEFFREY      )
RAY BELDEN,                            )
                                       )
                 Plaintiffs,           )
                                       )
v.                                     )                 Case No. 04-2368-JWL-DJW
                                       )
WARREN PLOEGER, GLEN LEITCH,           )
STEVE ROBERTS, individually and as     )
COUNTY COMMISSIONERS OF BROWN )
COUNTY, KANSAS, LAMAR                  )
SHOEMAKER, individually and as SHERIFF )
OF BROWN COUNTY, KANSAS, and           )
BRETT HOLLISTER,                       )
                                       )
                 Defendants.           )


                                    NOTICE OF APPEAL

               Notice is hereby given that Defendants Warren Ploeger, Glen Leitch, Steve

Roberts, County Commissioners of Brown County, Kansas, Lamar Shoemaker and Brett

Hollister (“Defendants”), in the above-referenced matter, hereby appeal to the United States

Court of Appeals for the Tenth Circuit from a Memorandum and Order denying Defendants’

claims for qualified immunity entered in this action on the 17th day of November, 2005.

               Pursuant to Fed. R. App. P. 3(e) and 10th Cir. R. 3.3, and 28 USC § 1913, the

Defendants will also submit the appropriate fees to the District Court Clerk for the District of

Kansas.




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                                             Respectfully Submitted,

                                             SHOOK, HARDY & BACON L.L.P.

                                             By:    s/Michael E. Baker
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                                                      WENDELL F. COWAN, #8227

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                                             ATTORNEYS FOR DEFENDANTS WARREN
                                             PLOEGER, GLEN LEITCH, STEVE ROBERTS,
                                             COUNTY COMMISSIONERS OF BROWN
                                             COUNTY, KANSAS, LAMAR SHOEMAKER
                                             AND BRETT HOLLISTER

                                CERTIFICATE OF SERVICE

                 I hereby certify that on this 1st of December, 2005, I presented the foregoing to
the clerk of the court for filing and uploading to the CM/ECF system which will send a notice of
electronic filling to the following:

               Robert R. Laing, Jr.
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               10975 Benson, suite 570
               Overland Park, Kansas 66210

               ATTORNEY FOR PLAINTIFFS


                                             s/Michael E. Baker
                                             Attorney for Defendants




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